AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DANIEL DEFENSE, LLC, a Limited Liability Company




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) FIREQUEST INTERNATIONAL, INC., a Arkansas Corporation




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MANDY GUTIERREZ, an Individual




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MARIANO PARGAS, an Individual




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MOTOROLA SOLUTIONS, INC., a Delaware Corporation




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) OASIS OUTBACK, LLC, a Texas Limited Liability Company




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PEDRO "PETE" ARREDONDO, an Individual




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SCHNEIDER ELECTRIC USA, INC., a Delaware Corporation




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE CITY OF UVALDE




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      WesternDistrict
                                                  __________  Districtofof__________
                                                                           Texas


 CORINA CAMACHO, Individually and on behalf of                    )
 G.M., a Minor; TANISHA RODRIGUEZ, Individually                   )
   and on behalf of G.R., a Minor; and SELENA                     )
SANCHEZ, Individually and on behalf of D.J., a Minor              )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:22-cv-00048
                                                                  )
  THE UVALDE CONSOLIDATED INDEPENDENT                             )
      SCHOOL DISTRICT; PEDRO "PETE"                               )
    ARREDONDO, an Individual; THE CITY OF                         )
  UVALDE; MARIANO PARGAS, an Individual; et al.                   )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE UVALDE CONSOLIDATED INDEPENDENT SCHOOL DISTRICT




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephanie Sherman
                                           BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.
                                           10940 Wilshire Blvd., Suite 1600
                                           Los Angeles, CA 90024
                                           Telephone: (310) 207-3233
                                           Facsimile: (310) 820-7444

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT 3+,/,3-'(9/,1


Date:
                                                                                       Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-00048

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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 was received by me on (date)                                         .

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                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
